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                             SO ORDERED: July 27, 2020.




                             ______________________________
                             James M. Carr
                             United States Bankruptcy Judge

                        UNITED STATES BANKRUPTCY COURT                     S011260A (rev 04/2020)
                              Southern District of Indiana
                               46 E. Ohio St., Rm. 116
                                Indianapolis, IN 46204
In re:

Bradley Kent VanPelt,                                  Case No. 20−03810−JMC−11V
            Debtor.

                  ORDER SETTING DEBTOR'S REQUIREMENTS AND
             NOTICE OF CONFIRMATION HEARING AND FILING DEADLINES

A Chapter 11 Plan of Reorganization under subchapter V was filed on July 23, 2020, by
Debtor Bradley Kent VanPelt.

IT IS ORDERED that on or before August 3, 2020, the debtor must mail the plan, a Ballot
for Accepting or Rejecting Plan (Form B314 or a substantially similar form), and a copy of
this order to all creditors, equity security holders, parties in interest, and the trustee
pursuant to Fed.R.Bankr.P. 3017.2. A certificate of service listing the mailed documents,
the mailing date, and recipients must be filed by August 10, 2020.

IT IS FURTHER ORDERED that the last day for filing an election of application of 11
U.S.C. § 1111(b)(2) by a class of secured creditors be August 17, 2020.

IT IS FURTHER ORDERED that no later than August 21, 2020, the debtor must tabulate
the ballots, certify the ballot report, and file both the ballot report and the certification
pursuant to S.D.Ind. B−3018−1.

NOTICE IS GIVEN that a hearing to consider confirmation of the plan and any objection
or modification to the plan will be held as follows:

         Date: August 31, 2020
         Time: 10:00 AM EDT
         Place: 888−273−3658; access code 6349352

NOTICE IS FURTHER GIVEN that any objection to the confirmation of the plan must be
filed and served pursuant to Fed.R.Bankr.P. 3020(b)(1) on or before August 26, 2020.

NOTICE IS FURTHER GIVEN that any ballot accepting or rejecting the plan must be
delivered on or before August 18, 2020, to the debtor at the address on the ballot form.
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NOTICE IS FURTHER GIVEN that pursuant to Fed.R.Bankr.P. 3017.2(b), an equity
security holder or creditor whose claim is based on a security must be the holder of
record of the security by August 24, 2020, in order to be eligible to vote to accept or
reject the plan.

Attorney for the debtor must distribute this order.

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